AO 440 (Rev. 12/09) Summons in a Civil Action

Qe eee

UNITED STATES DISTRICT COURT

for the

Middle District of Tennessee

Automobili Lamborghini S.p.A

Plaintiff

3:23-cv-0099 |

V, Civil Action No.

Velocity Motorcars Nashville LLC

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Velocity Motorcars Nashville LLC
720 Airpark Center Drive
Nashville, Tennessee 3721/7

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule |2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ryan D. Levy

Patterson Intellectual Property Law, P.C.
1600 Division Street, Suite 500

Nashville, Tennessee 37203
rdi@iplawgroup.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

ur. nite

Signature of Clerk or Deputy Clerk

Date: _—- 09/19/2023

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 4 ())

This summons for (name of gndividual and title, if any) Wks CON rn r\st CaS rc sw sl\4 \ ( \_
Was received by me on (date) \A\r ota

/
| personally served the summons on the individual at (place) Sys o9thu oddley Truck
At QA. p los) ou 4 VON Welle, ot \'1% Pu . On (date) “| [AY LSS > OF

7 | left the summons at the individual's residence or usual place of abode with (name)
a person of suitable age and discretion who resides there,

On (date) and mailed a copy to the individual's last known address, or

1 | served the summons on (name of individual) who Is

designated by law to accept service of process on behalf of (name of organization)

On (date) (or
7 | returned the summons unexecuted because or
CT Other (specif)
My fees are $ for travel and $ for services, for a total of $ 0.00

| declare under penalty of perjury that this information is true,

Date: 9 /20]2.0%8 led C2. Vhuh—

Server 's signature

Ts A. Clerk S< Sve

Printed name and eT

is Expedite
214 2nd Ave N, suite 205
Nashville, TN 37201

Le 615-852-6190 ey

Server's address

Additional information regarding attempted service, etc:

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